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                                                            10/11/2019


VIA ECF
Honorable Judge Vera M. Scanlon
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re:     Dennis v. Sharewithnyc Inc., Case No. 1:18-cv-07148-KAM-VMS

Dear Hon. Judge Scanlon,

        As the Court is aware, the undersigned represents the Plaintiff in the above-referenced case.
Due to the Jewish holidays running from September 30th and ongoing until October 22, 2019, the
undersigned has been out of the country since September 24th with extremely limited access to
email and phone due to the time zone differences. As a result of an unintentional office and
calendar oversight, the undersigned was unable to attend the conference held on October 10, 2019.
The undersigned respectfully apologizes for any inconvenience this may have caused the court and
hopes the conference may be adjourned for a later date after October 23, 2019 in which is
convenient to the Court. The undersigned would also like to respectfully request extra time in order
to provide defense counsel additional opportunity to appear on this matter.



                                                            Respectfully submitted,


                                                            /s/ Jonathan Shalom
                                                            Jonathan Shalom, Esq.
                                                            Attorney for Plaintiff
